          EXHIBIT 1




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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



IN RE: REALPAGE, INC., RENTAL                            Case No. 3:23-md-3071
SOFTWARE ANTITRUST LITIGATION                            MDL No. 3071
(NO. II)
                                                         Chief Judge Waverly D. Crenshaw,
                                                         Jr.
                                                         JURY DEMAND
                                                         This document relates to:
                                                         ALL CASES




                        [PROPOSED] CASE MANAGEMENT ORDER

        Pursuant to Rule 16 of the Federal Rules of Civil Procedure, the Local Rules of this Court,

 and the Court’s January 5, 2024, Order (ECF No. 693), and to secure the just, speedy, and

 inexpensive determination of this action, the Court orders that the following schedule shall govern

 these proceedings.

        Any motion to modify the case management order or any case management deadline shall

 be filed at least seven days in advance of the earliest impacted deadline. Unless a joint motion,

 the motion for modification should include a statement confirming that counsel for the moving

 Party has met and conferred with opposing counsel about the requested modification(s) or

 extension(s), and whether there is any objection. The motion for modification should also include:

 (i) the trial date and all deadlines, even unaffected deadlines, so that it will not be necessary for

 the Court to review one or more previous case management orders in consideration of the motion

 and (ii) a statement that the requested extension will still conform to the requirements of Local

 Rule 16.01(h)(1) that no dispositive motion deadline, including response and reply briefs, shall be




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 later than 90 days in advance of the trial date. Motions for extensions should also demonstrate

 good cause as required by Fed. R. Civ. P. 16(b)(4). Counsel must promptly notify the Court of

 developments in the case that could significantly affect the case management schedule.

        The Court expects the Parties and their counsel to work cooperatively throughout this

 litigation to narrow the issues in dispute, and to use reasonable, good faith, and proportional efforts

 to preserve, request, identify, and produce relevant information and resolve discovery disputes.

 DISCOVERY DEADLINES AND LIMITS
            1. For purposes of Rule 26(d)(1), discovery requests may be served on or after
               February 16, 2024.

            2. The Parties shall serve their initial disclosures required by Rule 26(a)(1) on or
               before February 26, 2024. In all subsequently consolidated actions, all newly
               added Parties shall serve initial disclosures within 21 days of consolidation. If the
               newly-added Parties disclose documents by category and location pursuant to Fed.
               R. Civ. P. 26(a)(1)(A)(ii), they will produce copies of the documents themselves in
               response to discovery requests.

            3. On or before March 15, 2024, Defendants shall produce all documents and
               correspondence that, as of February 29, 2024, Defendants produced to the
               Department of Justice, the Federal Trade Commission, Congress, any State
               Attorney General, and/or any other state or federal regulatory agency in relation to
               any civil investigative demand or any formal or informal document discovery, any
               white papers, narrative responses, or any other manner of discovery provided to
               such regulators, concerning its Revenue Management Solutions.

            4. The Parties must disclose the documents and/or information described in
               Attachment 1 on or before April 1, 2024, without the need for a request pursuant
               to Fed. R. Civ. P. 34 (“Attachment 1 Disclosures”). In all subsequently
               consolidated actions, the newly added Parties shall serve Attachment 1 Disclosures
               within 30 days of consolidation.

            5. Fact discovery must be commenced in time to be completed on or before
               November 21, 2025. Privilege log procedures shall be governed by the ESI Order.
               To facilitate the scheduling and taking of depositions and the briefing of class
               certification, the Court also establishes the following interim deadlines for the
               production of documents and data:

                    a. The Parties shall begin meeting and conferring about custodians no later
                       than March 11, 2024.




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                    b. The production of structured data responsive to Plaintiffs’ First Set of
                       Structured Data Requests, and any data upon which Defendants intend to
                       rely in their defense of the litigation, (together, “Structured Data”) shall be
                       complete by October 25, 2024. Defendants shall each produce a sample of
                       their Structured Data databases no later than May 1, 2024. Plaintiffs shall
                       meet and confer with Defendants, including raising questions about sample
                       productions by June 5, 2024, and Defendants shall answer questions about
                       the form and contents of the Structured Data and any perceived deficiencies
                       therein by July 10, 2024, in order to facilitate the timely production of an
                       agreed upon scope of Structured Data by October 25, 2024.

                    c. The Parties must complete all of their document productions by March 28,
                       2025.

                    d. A responding Party shall begin rolling productions of documents from non-
                       custodial sources in response to requests for production of documents by
                       April 26, 2024 or within 60 days of receipt, whichever is later. A
                       responding Party shall begin rolling production of documents from
                       custodial sources no later than 60 days after finalization of all custodians;
                       provided, however, that if the Parties have a dispute over any specific
                       custodian, the 60 day deadline for that custodian will start upon resolution
                       of any impasse.

            6. Limitations on Written Discovery:

                    a. Interrogatories: Interrogatories will be counted in accordance with Fed. R.
                       Civ. P. 33(a)(1). The Parties must coordinate efforts and each side must
                       avoid serving duplicative or unduly burdensome interrogatories.

                       i.    Plaintiffs: Plaintiffs may jointly serve 30 interrogatories on each
                             Defendant.1

                      ii.    Defendants: Defendants may jointly serve 30 interrogatories on each of
                             the individual named Plaintiffs, but no more than 60 unique
                             interrogatories across all named Plaintiffs.

                    b. Rule 34 Document Requests: Consistent with Fed. R. Civ. P. 34, there shall
                       be no limits on the number of requests to produce the Parties may serve.
                       Each side must endeavor to jointly serve their requests where there is
                       overlap. Plaintiffs may direct their requests to Defendants or, for any
                       discrete issues, to individual Parties. Defendants may direct their requests



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   In this Order, the discovery limits applying to a “Defendant” shall apply to each named
 Defendant in a Defendant family. Similarly, the discovery limits applying to a “Plaintiff” shall
 apply to each Plaintiff family (i.e., spouses suing as joint tenants). These limitations do not apply
 to third-party discovery sought from entities who are not named Defendants.


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                     to all Plaintiffs or, for any discrete issues, to an individually named Plaintiff.
                     No rights, obligations, or objections available by the Federal Rules of Civil
                     Procedure are modified by this section.

                c. Requests for Admission:

                         i. The Parties will meet and confer in good faith to agree on a process
                            for a stipulation and/or a deferred Rule 30(b)(6) deposition
                            concerning various evidentiary issues addressed in the Federal Rules
                            of Evidence (“FRE”), including authenticity (FRE 902 & 903),
                            duplicates (FRE 1001(4) & 1003), the requirement for a sponsoring
                            witness to establish authenticity or best evidence, and status of a
                            document as a business record (FRE 803(6)).

                        ii. With respect to evidentiary issues not addressed in the prior
                            paragraph, all Parties must endeavor to coordinate to ensure that any
                            such requests do not cause unnecessary duplication. With respect to
                            such non-evidentiary issues:

                                 1. Plaintiffs: Plaintiffs may jointly serve 50 Requests for
                                    Admission on each Defendant. These limitations exclude
                                    requests to establish the authenticity and/or admissibility of
                                    documents.

                                 2. Defendants: Defendants may jointly serve 30 Requests for
                                    Admission on each named Plaintiff, but no more than 60
                                    unique requests across all named Plaintiffs.

                        iii. Requests for Admission must be served no later than August 21,
                             2025, except for requests to establish the authenticity and/or
                             admissibility of documents.

                d. Depositions: Depositions shall be governed by the Order for Deposition
                   Protocol and any additional Court orders concerning discovery limits.

                e. Third Party Subpoenas:

                         i. Absent good cause to the contrary, all third-party subpoenas must
                            be served in sufficient time, taking into account the nature and
                            volume of the material requested, to allow for resolution of
                            reasonably anticipated disputes and production of the material
                            requested no later than the deadline for the completion of all fact
                            discovery. In no event shall third-party subpoenas be served less
                            than 45 days prior to the deadline for completion of fact discovery.

                        ii. Plaintiffs and Defendants must give each side notice of the issuance
                            of a third-party subpoena. Such notice must be given at least two
                            (2) business days in advance per Local Rule 45.01(d). Plaintiffs and


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                               Defendants must exchange all third-party productions within 7 days
                               of receipt of the productions or at least 14 days before the deposition
                               of the producing third party, whichever is earlier.

 ADDITIONAL DISCOVERY ORDERS
            1. The Protective Order, Deposition Protocol, Rule 502(d) Order, Expert Discovery
               Order, and ESI Protocol entered by the Court shall automatically apply to Parties
               in all subsequently consolidated actions, unless modified by the Court in response
               to a motion filed by such newly added party within 14 days of their consolidation.

 RULE 26(A) DISCLOSURES AND EXPERT DISCOVERY
            1. All Parties must serve all expert reports on issues on which they have the burden of
               proof (including class and merits issues) (“Opening Reports”) on or before
               February 19, 2026. 2

            2. All Parties must serve opposition expert reports (“Rebuttal Reports”) on or before
               April 20, 2026.

            3. All Parties must serve reply expert reports (“Reply Reports”) on or before June 4,
               2026.

            4. Expert depositions regarding an expert’s opinions for an Opening or Rebuttal
               Report shall be conducted within 30 days of service of the respective report, unless
               otherwise agreed upon in writing by the Parties.

            5. All expert material, including back-up data, relied upon in any expert report must
               be produced no later than three (3) business days after service of the expert report,
               unless otherwise agreed upon in writing by the Parties.

 CLASS CERTIFICATION AND DAUBERT
        Upon conclusion of expert disclosures, the Parties will brief class certification and any

 motions to exclude expert opinions, whether relating to class or merits issues.

            1. Plaintiffs must file and serve their opening motion for class certification on or
               before July 20, 2026. In addition, all Parties must also file and serve any Daubert
               motion seeking to exclude expert opinions pertaining to an Opening Report on or
               before July 20, 2026.




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        These deadlines are contingent on Defendants satisfying their obligations regarding the
 timely production of Structured Data and providing satisfactory answers to Structured Data
 questions.


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            2. Defendants must file and serve their opposition to Plaintiffs’ motion for class
               certification on or before September 7, 2026. In addition, all Parties must also file
               and serve: a) any Daubert motion seeking to exclude expert opinions pertaining to
               a Rebuttal Report; and b) any opposition to a Daubert motion pertaining to an
               Opening Report.

            3. Plaintiffs must file and serve their reply in support of their motion for class
               certification on or before October 7, 2026. In addition, all Parties must also file
               and serve: a) any oppositions to a Daubert motion pertaining to a Rebuttal Report;
               and b) any replies in support of a Daubert motion pertaining to an Opening Report.

            4. On or before November 6, 2026, all Parties must file and serve any replies in
               support of a Daubert motion pertaining to a Rebuttal Report.

            5. A hearing on class certification and Daubert will be held in November 2026.

 DISPOSITIVE MOTIONS AND TRIAL READY DATE
        Motions for summary judgment under Rule 56(a) shall be made in accordance with the

 following schedule. No Party may file a motion for summary judgment before all fact and expert

 discovery has been completed without first obtaining permission from the Court. Permission must

 be sought by electronically filing a letter of no more than three (3) pages briefly setting forth the

 basis for the motion, whether discovery relating to the issue or issues to be addressed by the motion

 is complete, and why judicial efficiency would be served by allowing the motion to proceed. The

 other Party or Parties may file brief letters in support of or in response to the request within five

 (5) days. Denial of a request for permission to file an interim dispositive motion shall not be taken

 as an indication of the Court’s view about the merits of the proposed motion.

        Before filing or responding to a summary judgment motion, attorneys are required to read

 and follow Judge Richardson’s guidance in McLemore v. Gumucio, 619 F. Supp. 3d 816 (M.D.

 Tenn. 2021), regarding what should (or should not) be included in the movant’s “statement of

 undisputed material facts.” Counsel must carefully draft the statement of undisputed material facts

 and responses to ensure that it is a narrow statement of facts (not opinions, argument, or legal




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 conclusions) that are material to the outcome of the case and are undisputed as supported by the

 record.

           Assuming resolution of Plaintiffs’ motion for class certification no later than January 15,

 2027, the following deadlines shall apply to the Parties’ motions for summary judgment under

 Rule 56.

              1. The Parties shall file any motions for summary judgment on or before March 1,
                 2027.

              2. Parties must file and serve their memoranda in response to any summary judgment
                 motions on or before April 30, 2027.

              3. Parties must file and serve their replies in support of any summary judgment
                 motions on or before June 14, 2027.

              4. Argument on the Parties’ summary judgment motions, will be held in July 2027 (if
                 necessary, see Local Rule 78.01).

              5. For cases filed in the Middle District of Tennessee, the Parties shall be trial ready
                 no later than October 1, 2027. The Court will set a trial for four weeks starting on
                 a convenient date shortly thereafter.

 MEDIATION AND ALTERNATIVE DISPUTE RESOLUTION

              1. The Parties are engaged in ongoing mediation efforts and expect to do so on a dual
                 track alongside of the litigation track. In the event the Parties have not resolved the
                 claims, they shall engage in at least one additional good-faith mediation effort no
                 later than August 13, 2027.

              2. Nothing in this Order shall prevent the Parties, or a subset of the Parties, from
                 engaging in additional mediation or settlement conferences with the aim of
                 resolving the claims in this case.

              3. The Court may sua sponte schedule status conferences or settlement conferences to
                 explore options for alternative dispute resolution.

 REQUESTS TO SEAL DOCUMENTS OR PORTIONS OF DOCUMENTS

           Any Party requesting that documents or portions of documents be sealed, including without

 limitation for use as exhibits at trial, must file a motion to seal in accordance with Section 5.07 of

 Administrative Order No. 167-1 (Administrative Practices and Procedures for Electronic Case



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 Filing) and Local Rules 5.03 and 7.01, which demonstrates compelling reasons to seal the

 documents and that the sealing is narrowly tailored to those reasons. The motion to seal, even if

 unopposed, must specifically analyze in detail, document by document, the propriety of secrecy,

 providing factual support and legal citations. Generally, only trade secrets, information covered

 by a recognized privilege (such as the attorney-client privilege), and information required by

 statute to be maintained in confidence is typically enough to overcome the presumption of public

 access. Failure to comply with these procedures or to provide sufficiently compelling reasons may

 result in denial of the request to seal documents or portions of documents.

 CASE MANAGEMENT CONFERENCES
            1. The Parties shall conduct status conferences before Judge Crenshaw approximately
               every 30 days from February 16, 2024 to August 1, 2026. The Parties will
               provide their availability for these conferences through March 2025 within ten days
               of entry of this Order.

            2. The Parties will submit a joint status report seven days before each status
               conference. To the extent that the Parties have a small number of agenda items for
               a status conference, the Court may elect to conduct the status conference
               telephonically. If there are no agenda items for a status conference, the Court may
               cancel the conference.



 IT IS SO ORDERED.



 Date:                         , 2024



                                                             Hon. Waverly Crenshaw, Jr.




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                                           ATTACHMENT 1

         As part of these initial, limited disclosures, the Parties need not disclose every document

  falling within items 1-6 below but will disclose documents sufficient to show the requested

  information for each year for the period from January 1, 2016, through December 1, 2023. Such

  disclosures will be subject to a duty to supplement or amend the disclosures once discovery

  commences.

         By providing information pursuant to these disclosures, the Parties do not waive or limit

  their respective rights to object to, or oppose, any request for further disclosure or discovery.

         The omission of any particular category of documents from this Order does not preclude

  the Parties from seeking such documents in discovery once discovery commences. In making the

  disclosures pursuant to this Attachment, a disclosing party is not making any representations

  regarding whether it may use any documents, people, or information in support of its claims or

  defenses, reserves all rights to challenge the relevance of any disclosures, and is not agreeing that

  the persons disclosed possess information relevant to the claims or defenses.

  1.     Key Personnel and Lease Information

         a.      Owner, Owner-Operator, and Managing Defendants:

                 i.      Provide documents sufficient to show the names and titles of individuals

                         with the following positions or responsibilities relating to your ownership

                         and/or    management      of    Multifamily    rental   housing     properties

                         (“Properties”):

                         1.       member of the board of directors;




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                     2.   all executives with the title of Director, Vice President, or higher

                          (such as SVP, CEO, COO, CFO, etc.), as well as their

                          administrative assistants or secretaries;

                     3.   investor and/or creditor relations;

                     4.   the person(s) who have responsibility for:

                          a.      determining, setting, adopting, or implementing the rental

                                  price at which each of your units is set at each of your

                                  Properties;

                          b.      determining, setting, adopting, or implementing occupancy

                                  strategies and/or policies for each of your Properties;

                          c.      gathering competitive intelligence and/or comparable

                                  (“comps”), regarding prices, occupancy, and revenue

                                  management in the Multifamily rental housing market;

                          d.      handling tenant complaints concerning the pricing of their

                                  unit(s) within your Properties;

                          e.      communicating with RealPage and/or any RealPage Pricing

                                  Advisor, Revenue Manager, and/or LRO Advisor concerning

                                  pricing, lease terms, occupancy, market data, and/or

                                  competitive intelligence relating to the Multifamily rental

                                  housing market;

                     5.   the person(s) who supervise the department(s) responsible for

                          pricing, leasing, occupancy, market data, and/or competitive

                          intelligence;



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                       6.      all executives with the title of Director, Vice President, or higher,

                               as well as certain limited executives with the title of Manager, 3 who

                               were an officer, board member, or otherwise formally-designated

                               participant (such as a member of a relevant committee) of any of the

                               following:

                               a.      National Apartment Association;

                               b.      National Multifamily Housing Council;

                               c.      Institute of Real Estate Management;

                               d.      National Association of Residential Property Managers;

                               e.      Pension and Real Estate Association;

                               f.      Urban Land Institute;

                               g.      Texas Apartment Association; and

                               h.      Any other regional trade association and chapter, including

                                       rental   housing     associations,     multifamily      housing

                                       associations,    apartment      associations,    real    estate

                                       associations, property management associations, and/or

                                       property owners’ associations in the Multifamily rental

                                       housing submarkets within which you operate.

                ii.    All executives with the title of Director, Vice President, or higher, as well as

                       certain limited executives with the title of Manager, whose responsibilities




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    “Manager” refers to an individual who oversees a business unit within the Defendant, but not
  individuals with the position of ‘manager’ who report to such individuals.


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                      include determining and/or approving unit pricing, leasing, or occupancy

                      decisions for your Properties.

               iii.   You may create a list of individuals with the job responsibilities listed in

                      item 1(a)(i)-(ii) above in lieu of producing a formal organizational chart, so

                      long as such a list provides, to the extent the information is readily

                      available, the individual’s name, title(s), the time period during which they

                      held each title(s), and for item 1(a)(i)(6) above, the name of the trade

                      association(s) of which the individual was an officer, board member, or

                      formally-designated participant and any committee memberships held.

               iv.    Provide documents or information sufficient to identify whether you were

                      assigned a RealPage Pricing Advisor, Pricing Analyst, Revenue Manager,

                      and/or LRO Advisor (together, “Pricing Advisor”), and if so, identify: (1)

                      the Property or Properties for which a Pricing Advisor is/was used,

                      including by Property name and address; (2) the identities of all Pricing

                      Advisors assigned to the Properties identified in sub-paragraph (1); (3) the

                      RealPage RMS 4 for which the Pricing Advisor provided advisory services

                      for at the Properties identified in sub-paragraph (1); and (4) the time period

                      during which each Pricing Advisor was in this role for their respective

                      Property assignments.




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   “RMS” means RealPage’s revenue management software solutions, including RealPage
  Revenue Management, Lease Rent Options (“LRO”), YieldStar, and AI Revenue Management,
  and all versions thereof.


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              v.     If during the relevant time period, you did not use a Pricing Advisor,

                     identify whether you employed any in-house personnel who once worked

                     for RealPage and/or was trained by RealPage in its RMS, including

                     YieldStar, LRO, and AI Revenue Management, who were responsible for,

                     without limitation, reviewing, accepting, and/or overriding RealPage’s

                     RMS pricing. If so, (1) identify those individuals, including by their titles

                     and tenure; (2) identify the Property or Properties for which they were

                     responsible; and (3) identify the RMS for which those individuals provided

                     internal advisory services for at each Property identified in sub-paragraph

                     (2).

              vi.    Provide documents or information sufficient to identify whether any of your

                     standard Property lease agreements contain an arbitration provision, jury

                     waiver, class action waiver, or release of claims, and if so, identify all states

                     in which your standard lease agreements contain such provisions, and

                     produce examples of all such leases.

     b. RealPage/Thoma Bravo Defendants:

              i.     Organizational charts and/or documents sufficient to show the names and

                     titles of individuals with the following positions or responsibilities relating

                     to RealPage’s RMS for the Multifamily rental housing market, as well as

                     price optimization, benchmarking, market analytics, and any other

                     functionality that communicates with any RealPage pricing algorithm that

                     generates recommended rental prices for the Multifamily rental housing

                     market:




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                     1.     members of the board of directors;

                     2.     all executives with the title of Director, Vice President, or higher

                            (such as SVP, CEO, COO, CFO, etc.), as well as their

                            administrative assistants or secretaries;

                     3.     investor and/or creditor relations;

                     4.     the person(s) who have responsibility for:

                            a.     the design, innovation, and implementation of RealPage’s

                                   RMS;

                            b.     overseeing the gathering and compiling of the data RealPage

                                   uses in its RMS to make pricing and occupancy

                                   recommendations to its clients, including but not limited to

                                   survey data and transactional data inputs into the RealPage

                                   RMS platform;

                            c.     business development with current or potential client

                                   Multifamily property management companies or owners

                                   who use, or may use in the future, RealPage’s RMS; and

                            d.     communications      with       clients   concerning   a   client’s

                                   acceptance, deviation, and/or variance rate, in relation to

                                   RealPage’s recommended RMS pricing or occupancy levels

                                   at the client’s Property and/or Properties;

             ii.     Identify the person(s) and department(s) responsible for supervising and

                     training Pricing Advisors as well as any of your employees responsible for




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                     interpreting the output and/or pricing recommendations of any RealPage

                     RMS;

             iii.    Identify all Pricing Advisors, including the Property Owners, Owner-

                     Operators, and Managers (as named in the operative complaint) and the

                     geographic regions within the U.S. to which each Pricing Advisor was

                     assigned, and time periods for which the Pricing Advisor was assigned to

                     each Property Owners, Owner-Operators, and Managers and region

                     identified;

             iv.     Identify all executives with the title of Director, Vice President, or higher,

                     as well as certain limited executives with the title of Manager, who were an

                     officer or board member of, or otherwise formally-designated participant

                     (such as a member of a relevant committee) of any of the following:

                     1.      National Apartment Association;

                     2.      National Multifamily Housing Council;

                     3.      Institute of Real Estate Management;

                     4.      National Association of Residential Property Managers;

                     5.      Pension and Real Estate Association;

                     6.      Urban Land Institute; and

                     7.      Any other regional trade association and chapter, including rental

                             housing associations, multifamily housing associations, apartment

                             associations, real estate associations, property management

                             associations, and/or property owners’ associations in the




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                              Multifamily rental housing market and submarkets within which

                              you operate.

       c.     Additional Thoma Bravo Disclosure: Identify the person(s) who had and/or have

              primary responsibility for: (a) Thoma Bravo’s acquisition of RealPage; (b)

              management of Thoma Bravo’s financial investment in RealPage; and

              (c) communication with RealPage’s executives.

       d.     Plaintiffs: Identify the units within the Property or Properties within which the

              Plaintiffs named in the operative complaint rented during the relevant time period,

              by name, address and Property Owner, Owner-Operator, or Manager, as well as any

              rental price increase(s) experienced during that time.

  2.   Email Systems: Identification of the email system used, including the name of the email

       system, version number (including applicable dates for different versions, if readily

       available), and time period or number of days for which email is retained on the system.

  3.   Non-custodial Data Sources: A list of known non-custodial data sources (e.g., shared

       drives, servers, etc.), if any, that are likely to contain discoverable ESI. These lists will

       identify all databases that are likely to contain discoverable structured data, and the

       particular type of data each source of structured data contains.

  4.   Document Retention Policies: Document retention and/or destruction policies, including

       policies or systems that automatically delete certain types of documents or data (e.g.,

       email) after a certain time period, that applied to documents and data are likely to be

       relevant to the claims or defenses in these cases and that were in effect at any time during

       the period from January 1, 2016 to June 30, 2023.




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  5.   Employee Technology Use Policies: Employee Technology Use Policies in effect during

       the period of January 1, 2016 to June 30, 2023, including (if they exist) policies concerning

       use by employees of cellphones, notebook computers, and tablets for business purposes.

       Without intending to limit, such policies may go by the following names: bring-your-own

       device (BYOD) policies, choose-your-own-device (CYOD) policies, corporate-liable-

       employee-owned (CLEO) policies, corporate-owned/personally enabled (COPE) policies,

       mobile-device-management (MDM) policies, and dual-use device policies. Plaintiffs and

       Defendants will disclose if they had no such policies during the identified time period.

  6.   Inaccessible Data: A list of known data sources, if any, likely to contain discoverable ESI

       and that the Party asserts are not reasonably accessible under Rule 26(b)(B) or Rule

       26(b)(2)(C)(i).




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